                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 1 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                            District
                                                     __________      of Nevada
                                                                District of __________

                     DARYAL TAYLOR,                                     )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                        )
                 ROBERT BECKETT, et al                                  )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Investigator MARY HUGGINS, individually and in her capacity as Investigator Nye
                                           County Sheriff’s Office,   1520 East Basin Road, Pahrump, Nevada 89060




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            2/20/14CLERK OF COURT


Date:             02/19/2014
                                                                                            Signature of Clerk or Deputy Clerk
                   Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 2 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 3 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                   __________      of Nevada
                                                              District of __________

                      DARYAL TAYLOR                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                   )
                 ROBERT BECKETT, et al                             )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CALIFORNIA ORGANIZATION OF POLICE AND SHERIFF ASSOCIATIONS
                                           INCORPORATED, 1920 S Archibald Ave Ste L, Ontario, CA 91761




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                       2/20/14CLERK OF COURT

Date:             02/19/2014
                                                                                       Signature of Clerk or Deputy Clerk
                   Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 4 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 5 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                   __________      of Nevada
                                                              District of __________

                      DARYAL TAYLOR                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                   )
                 ROBERT BECKETT, et al                             )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KIRK VITTO, Esq., individually and in his official capacity as Assistant District
                                           Attorney, Nye County Nevada 101 Radar Rd, Tonopah, NV 89049




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT
                                                                       2/20/14

Date:             02/19/2014
                                                                                       Signature of Clerk or Deputy Clerk
                   Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 6 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 7 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District
                                                   __________      of Nevada
                                                              District of __________

                      DARYAL TAYLOR                                )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                   )
                 ROBERT BECKETT, et al                             )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NYE COUNTY DISTRICT ATTORNEY’S OFFFICE, a political subdivision of the State
                                           of Nevada 101 Radar Rd, Tonopah, NV 89049




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                       2/20/14
                                                                            CLERK OF COURT


Date:             02/19/2014
                                                                                       Signature of Clerk or Deputy Clerk
                   Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 8 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 9 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District
                                                        __________      of Nevada
                                                                   District of __________

                     DARYAL TAYLOR,                                     )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                        )
                ROBERT BECKETT,                 et al                   )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                        SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Officer McNeil, individually and in her capacity as Officer Nye County Sheriff’s
                                           Department 1520 East Basin Road, Pahrump, Nevada 89060




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                            2/20/14
                                                                                 CLERK OF COURT


Date:             02/19/2014
                                                                                            Signature of Clerk or Deputy Clerk
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 10 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 11 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Nevada
                                                               District of __________

                      DARYAL TAYLOR                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                      )
                 ROBERT BECKETT, et al                                )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ltnt. ED HOWARD, individually and in his capacity as a Lieutenant Nye County
                                           Sheriff’s Office, NCSO   1520 East Basin Road, Pahrump, Nevada 89060




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          2/20/14
                                                                                CLERK OF COURT


Date:             02/19/2014
                                                                                          Signature of Clerk or Deputy Clerk
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 12 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 13 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                       District
                                                __________      of Nevada
                                                           District of __________

                     DARYAL TAYLOR,                             )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 2:2013-cv-2199-APG-VCF
                                                                )
                 ROBERT BECKETT, et al                          )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Assistant Sheriff RICK MARSHALL, 1520 East Basin Road, Pahrump, Nevada 89060




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: C. CONRAD CLAUS, ESQ., 816 E. Ogden Avenue, Las Vegas, Nevada 89101




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                    2/20/14
                                                                          CLERK OF COURT


Date:             02/19/2014
                                                                                    Signature of Clerk or Deputy Clerk
                 Case 2:13-cv-02199-APG-VCF Document 21 Filed 02/20/14 Page 14 of 14

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:2013-cv-2199-APG-VCF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
